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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9     Anant Kumar Tripati,                             No. CV-16-00282-TUC-DCB (P)
10                   Plaintiff,                         ORDER
11     v.
12     Corizon Incorporated, et al.,
13                   Defendants.
14
15
16             On January 23, 2018, this Court dismissed this action for failure to state a claim,
17     including a “strike” under 28 U.S.C. § 1915(g) for frivolousness, and entered Judgment
18     against the Plaintiff. He appealed. On April 26, 2018, the Ninth Circuit Court of
19     Appeals, after conducting a pre-filing review, determined the matter should not proceed
20     because it was insubstantial and entered the Mandate.          This case is closed.    All
21     subsequently filed motions and notices are moot.
22             Accordingly,
23             IT IS ORDERED that all pending motions (Docs 72 and 73) are DENIED AS
24     MOOT.
25     /////
26     /////
27     /////
28     /////
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 1            IT IS FURTHER ORDERED that the Clerk of the Court shall not accept further
 2     filings from Plaintiff in this matter.
 3            Dated this 18th day of July, 2018.
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